                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                              WESTERN DIVISION

                                      No. 5:20-ct-03231-M

 BRETT ABRAMS,
     Plaintiff,
                                                                NCPLS NOTICE OF
 v.
                                                                REPRESENTATION
 WILLIS FOWLER,
      Defendant.


       In response to the court’s order and pursuant to Standing Order 21-SO-l l, North Carolina

Prisoner Legal Services, Inc., (“NCPLS”) hereby informs the court that it is able to accept

appointment in the above-captioned case.

       Respectfully submitted this 13th day of January, 2022.


                                                     /s/ Elizabeth Hopkins Thomas
                                                     Elizabeth Hopkins Thomas
                                                     N.C. Bar No. 44470
                                                     N.C. Prisoner Legal Services, Inc.
                                                     Post Office Box 25397
                                                     Raleigh, North Carolina 27611
                                                     (919) 856-2200
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                                                     bthomas@ncpls.org

                                                     Executive Director, NCPLS




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on January 13, 2022, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system, which will send notification of such filing to

counsel of record for all parties. I also hereby certify that on January 13, 2022, I mailed a copy

of the foregoing to following individual:

                       Mr. Brett Abrams, OPUS #0000400
                       Orange Correctional Center
                       P.O. Box 1149
                       Hillsborough, NC 27278

                                                     /s/ Elizabeth Hopkins Thomas
                                                     Elizabeth Hopkins Thomas




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